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Brock Fredin
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                                                                           Date: February 11, 2022
BY ECF

Susan Richard Nelson!
United States District Court!
316 Robert St N
Saint Paul, MN 55101

         Re:      Fredin v. Miller et al., Case No. 18-CV-466-SRN-HB
                  Fredin v. Middlecamp, Case No. 17-CV-3058-SRN-HB
                  Fredin v. Kreil, Case No. 20-CV-01928-SRN-HB

Dear Judge Nelson:

I write this letter to the Court in reference to Anne Lockner’s pending show cause motion. Ms.
Lockner’s conduct has got considerably out of hand.

Ms. Lockner has made factual statements, not just allegations, attempting to get me held in
contempt, to which she has provided no evidence, and the statements are not true.

As an attorney, Ms. Lockner is bound by Federal Rules of Civil Procedure Rule 11 which prohibits
her from making arguments or asserting facts which have no basis. These include:

     •    the entire basis for the false rape allegation at the center of Fredin v. Kreil, without
          evidence, falsely claiming there’s a police report, and the entire FOIA email chain shows
          the false allegation originates from Defendant Schaefer’s retaliatory actions where she
          alleged I called her a “rapist” and “launched” a website;
     •    failure of a conflict check at the outset of her notice of appearance and then
          misrepresenting her actions to the Court;
     •    attempting to trick or coax me into divulging privileged attorney-client privilege contents
          to waive the privilege for purposes of holding me in contempt;
     •    settlement emails where she improperly misrepresented, distorted, and lied about email
          contents – without a single piece of evidence -- falsely alleging “pressure” was applied to
          obtain an unlawful injunction;
     •    knowingly lied and committed perjury in declarations with the Court in connection to
          Philip Seiff’s substance abuse;
     •    lied about a third party emailing the Court where Ms. Lockner falsely claimed I somehow
          directed an unknown third party to email the Court; and
     •    lied and committed perjury in claiming – again without a single piece of evidence – that I
          “reposted” a Haynes Hansen video to iFunny.co.
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The Court needs to hold Ms. Lockner accountable. Ms. Lockner cannot just come to this Court
because I am a pro se litigant and say whatever she wants without evidence. This is particularly
egregious because she is trying to hold me in contempt and fine me monetarily. Ms. Lockner is
trying to muck up the waters. Ms. Lockner did not merely allege these statements. Rather, she
stated that they were affirmatively true. They are not true.

Attorney argument, as a matter of law, cannot substitute facts and evidence. Any "statements of
counsel are not evidence and do not create issues of fact." Exeter Bancorporation, Inc. v. Kemper
Securities Group, Inc., 58 F.3d 1306, 1312 n. 5 (8th Cir. 1995) (internal citations omitted).
Moreover, “Argument by counsel is not evidence.” Wittenburg v. American Exp. Financial
Advisors. Inc., 464 F.3d 831, 838 (8th Cir. 2006). It is “improper for counsel to argue facts not in
evidence.” United States v. Vazquez–Garcia, 340 F.3d 632, 641 (8th Cir.2003). Gilster v.
Primebank, 884 F. Supp. 2d 811, 848 (N.D. Iowa 2012). Magistrate Judge Hildy Bowbeer – then
a 3M lawyer – successfully argued on the same basis that attorney argument is not evidence.
Specifically, Magistrate Judge Bowbeer said “these arguments are nothing more than attorney-
generated and conclusory depictions that are not evidence capable of supporting a finding …
[Magistrate Judge Bowbeer as a 3M lawyer] further argues the fact that Moldex had to resort to its
own drawings establishes that the [attorney arguments] were not [facts] — which is required to
establish [findings].” 3M Company v. Moldex-Metric, Inc., 641 F. Supp. 2d 834, 845 (D. Minn.
2009). Here, Ms. Lockner resorts to substantially worse distortions and dishonesty.

Unfortunately, in this show cause motion, Ms. Lockner is yet again trying to pass off her attorney
argument as fact. And, misusing her fake client Defendant Jamie Kriel as a vehicle to engage in
unethical attorney misconduct to silence me. Ms. Lockner’s pattern of deliberately making false
statements without evidence has gone too far and must be held accountable.



                                                             Sincerely,




                                                             s/ Brock Fredin
                                                             Brock Fredin
cc:    Karl Johann Breyer (by ECF)
cc:    Anne M. Lockner (by ECF)
